






Opinion issued August 31, 2009

     













In The

Court of Appeals

For The

First District of Texas






NO. 01-09-00623-CV






IN RE CAROLYN CALKINS JAMES, Relator






Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM OPINION


	Relator, Carolyn Calkins James, seeks mandamus relief compelling the trial
court to vacate its order disqualifying her attorney and her attorney's law firm. (1)

 

	We deny the petition for writ of mandamus.  All pending motions are overruled
as moot.

PER CURIAM

Panel consists of Justices Jennings, Alcala, and Massengale.  

1.             -
              

